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                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION

 In Re:
 EARL JOHN LEE, JR                                              Case No.: 6:24-bk-00640-GER
                                                                Chapter 13

                          Debtor./

     DEBTOR’S AMENDED MOTION TO EXTEND THE AUTOMATIC STAY UNDER §
                362(c)(3) AND REQUEST FOR EMERGENCY HEARING

         COMES NOW, the Debtor, Earl John Lee Jr, by and through her undersigned attorney, and

 hereby moves this Court to grant an extension of the automatic stay under§ 362(c)(3) and request for

 an emergency hearing on or before 03/09/2024 and as grounds, state the following:

         1.      The Debtors filed a petition for relief on 02/09/2024, under Chapter 13 of the

 Bankruptcy Code.

         2.      The debtor’s previous cases were filed Pro Se on an emergency basis to avoid

 repossession of his tractor. Case No. 6:23-bk-05501 filed in Middle District of Florida (Orlando) was

 dismissed on 02/02/2024. Case No. 6:23-04851 was dismissed on 12/23/2023.

         3.      There has been significant change in circumstances since the last filing as creditor for

 the Homestead Property had since filed foreclosure proceeding, Case Number 35-2024-CA-000320-

 AXXX-01. Debtor has now engaged counsel to assist in the bankruptcy filing and provide for all

 creditors in plan.

         WHEREFORE, the Debtor requests the Court to grant an extension of the automatic

stay throughout the course of the Chapter 13 case and request an emergency hearing on or before

03/09/2024 regarding the instant motion.
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by

regular U.S. Mail ( to all parties on attached service list) , postage prepaid and electronic transmission

( the parties below) on the 26th day of February 2024 to Office of the United States Trustee,

(USTP.Region21.TP.ECF@usdoj.gov); Laurie K Weatherford (and all interested parties and

creditors listed on the attached matrix.




                                                        /s/ Jonathan D Eichelberger
                                                        Jonathan D Eichelberger, Esq.
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